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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


G&F GRAPHIC SERVICES, INC.,        :     Civil No. 13-6482 (JEI/AMD)
                                   :
           Plaintiff,              :
                                   :               OPINION
           v.                      :
                                   :
GRAPHIC INNOVATORS, INC.;          :
and SCOTT KILEY,                   :
                                   :
           Defendants.             :




APPEARANCES:

PEPPER HAMILTON
By: Jonathan Preziosi, Esq.
     William Gibson, Esq.
301 Carnegie Center
Princeton, New Jersey 08543
                Counsel for Plaintiff

REED SMITH LLP
By: Daniel Mateo, Esq.
     Amy McVeigh, Esq.
Princeton Forrestal Village
136 Main Street, Suite 250
Princeton, New Jersey 08540
               Counsel for Defendants



IRENAS, Senior United States District Judge:


     Plaintiff G & F Graphic Services, Inc., doing business as

Inserts East, contracted to purchase from Defendant Graphic

Innovators, Inc. (“GI”), a “remanufactured” commercial Harris N400B

printing press for $2.7 million.       Inserts East asserts that the

printing press has never worked correctly, and that Graphic


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Innovators fraudulently sold it an older, historically problematic

N400 model, rather than the N400B model specified in the parties’

contract of sale. 1

       Presently before the Court is Defendants’ Partial Motion to

Dismiss pursuant to Fed. R. Civ. P. 12(b)(6).            For the reasons stated

herein, the Motion will be denied.



                                         I.

       The Complaint alleges the following facts.

       Plaintiff Inserts East is a New Jersey corporation with its

principal place of business in Pennsauken, New Jersey.             It

specializes in “produc[ing] circulars and other printed materials for

a wide variety of customers, including leading supermarkets, arts and

craft retailers, clothing retailers, and sporting goods stores.”

(Compl. ¶ 1)

       In 2012, Inserts East, seeking to expand its business, began its

search for a printing press that could “print commercially acceptable

printed products at a rate of at least 35,000 impressions per hour.”

(Compl. ¶ 11)      In late 2012, Defendant GI told Inserts East that it

had a “Harris N400B” press “that it was prepared to remanufacture . .




1
   The Court exercises diversity of citizenship subject matter
jurisdiction pursuant to 28 U.S.C. § 1332. Plaintiff is a New Jersey
citizen and Defendants are Illinois citizens, and the amount in
controversy exceeds the statutory minimum.

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. to meet Inserts East’s needs.”         (Id. ¶ 12) 2    “During its

negotiations with GI, Inserts East asked GI and [its President,

Defendant Scott] Kiley to confirm that the model GI was offering to

sell was indeed a N400B press.         Kiley confirmed and represented

unequivocally that the GI Press was a N400B.”             (Id. ¶ 14) 3

       In December, 2012, Inserts East and GI executed the contract for

the sale and installation of a remanufactured Harris N400B press.

(Compl. Ex. A)      Particularly relevant to the instant motion, the

contract contains a warranty that the press would be free from

defects for a period of 12 months after completion of installation,

and a damages limitation clause that excludes recovery of

consequential damages in a dispute arising out of the sale.

       In April, 2013, GI began installation of the press in Inserts

East’s Pennsauken facility.        The press “was operating by late June

2013, [but] it has never run reliably or at acceptable [] speeds to

produce a commercially acceptable product.”             (Compl. ¶ 24)    “For

example, if the press runs at speeds in excess of 24,000 impressions

per hour, it vibrates excessively and ‘loses register,’ which means

that the image is misaligned on the page.           Such a product . . . is

not commercially acceptable.”         (Id. ¶ 24)


2
  “A re-manufactured press is one that, though used, has been
returned to a ‘like new’ condition and should be as reliable as a new
press.” (Compl. ¶ 10)
3
   “The Harris N400 Press has historically been considered a problem
press.” (Compl. ¶ 13) The N400B Press resulted from manufacturer
modifications which sought to address the problems with the N400
Press. (Id.)
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     Inspection of the press has also revealed other problems, such

as damaged cylinder bearings, and the absence of certain upgrades

that GI represented it would make.         (Compl. ¶ 26)   “Inserts East has

allowed GI to spend weeks . . . attempting to cure the[] defects . .

. but those efforts have proven futile.”         (Id. ¶ 29)

     Inserts East believes that GI intentionally sold it a

remanufactured N400 press, rather than an N400B press.          It bases its

belief on the alleged facts that: (1) when Inserts East tried to

replace a damaged cylinder, “a stock N400B would not fit” in the

press; and (2) “many of the [press’s] component parts had their

serial numbers removed prior to the delivery of the [press] to

Inserts East.”   (Compl. ¶¶ 33-34)

     The Complaint asserts seven counts: (1) breach of express

warranty; (2) rejection or revocation of acceptance; (3) breach of

contract; (4) unjust enrichment; (5) violation of the New Jersey

Consumer Fraud Act, N.J.S.A. 56:8-1 et seq.; (6) common law fraud;

and (7) a claim for a declaration that the damage limitation clause

in the contract of sale “is unconscionable and unenforceable in that

it was procured by means of the fraudulent conduct of [Defendants] GI

and Kiley.”   (Compl. ¶ 92)    Defendant Kiley is only a Defendant to

the statutory and common law fraud claims (Counts 5 and 6);           all

other counts (i.e., the contract and quasi-contract claims) are

asserted only against Defendant GI.

     Defendants presently move to dismiss Counts 4 through 7 only.



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                                      II.

     Federal Rule of Civil Procedure 12(b)(6) provides that a court

may dismiss a complaint “for failure to state a claim upon which

relief can be granted.”     In order to survive a motion to dismiss, a

complaint must allege facts that raise a right to relief above the

speculative level.    Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555

(2007); see also Fed. R. Civ. P. 8(a)(2).        While a court must accept

as true all factual allegations in the plaintiff’s complaint, and

view them in the light most favorable to the plaintiff, Phillips v.

County of Allegheny, 515 F.3d 224, 231 (3d Cir. 2008), a court is not

required to accept sweeping legal conclusions cast in the form of

factual allegations, unwarranted inferences, or unsupported

conclusions.    Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d

Cir. 1997).    The complaint must state sufficient facts to show that

the legal allegations are not simply possible, but plausible.

Phillips, 515 F.3d at 234.     “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct

alleged.”   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).



                                     III.

     The contract provides that it “will be construed in accordance

with and governed by the laws of the State of New Jersey.”           (Compl.

Ex. A, p. 13)   Moreover, the parties assume that New Jersey law



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applies to all of the claims presently at issue.            (See Defs’ Moving

Brief, p. 10)      Thus, the Court applies New Jersey law.

       Each disputed Count is addressed in turn.



                                         A.

       Defendants argue that Inserts East’s unjust enrichment claim is

“duplicative” because it seeks “relief . . . identical to the relief

available in [the] rejection/revocation of acceptance claim.”

(Moving Brief, p. 12)       But even assuming arguendo that Defendants’

statement is correct, it is not a basis for dismissal under Fed. R.

Civ. P. 12(b)(6).

       As Defendants themselves state in their brief, “‘recovery based

on a quasi-contract theory is mutually exclusive of a recovery based

on a contract theory.’”        (Moving Brief, p. 11, quoting Duffy v.

Charles Schwab & Co., Inc., 123 F. Supp. 2d 802, 814 (D.N.J. 2000))

This is a correct statement of the law; if Inserts East prevails, it

will not be able to obtain double recovery. 4          But at the pleadings

stage, nothing prohibits Inserts East from pleading alternate, and

even legally inconsistent, theories.          Indeed, the Federal Rules of

Civil Procedure expressly allow such pleading.            See Fed. R. Civ. P.

8(d)(2)-(3).

       Defendants’ Motion to Dismiss Count 4 will be denied.




4
   Duffy decided a motion for summary judgment, not a motion to
dismiss. 123 F. Supp. 2d at 814-15.
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                                      B.

       Next, Defendant Kiley argues that the statutory and common law

fraud claims asserted against him in his individual capacity fail to

state a claim.    The Court disagrees.



                                      1.

       The New Jersey Supreme Court has held, “an individual who

commits an affirmative act or knowing omission that the [Consumer

Fraud Act] has made actionable can be liable individually” under the

CFA.    Allen v. V and A Brothers, Inc., 208 N.J. 114, 131 (2011).

Liability will be imposed on an individual when that “specific

individual has engaged in conduct prohibited by the CFA.”           Id. at

132; see also id. at 133 (“nothing in the CFA or the relevant

precedents suggests that . . . the individual employee or officer

will be shielded from liability for the CFA violation he or she has

committed.”) (emphasis added).

       Kiley argues that Inserts East has not pled any facts supporting

a conclusion that he specifically made any misrepresentation or

omission.    The Court disagrees.    The Complaint alleges, “[d]uring its

negotiations with GI, Inserts East asked GI and Kiley to confirm that

the model GI was offering to sell was indeed a N400B press.           Kiley

confirmed and represented unequivocally that the GI Press was a

N400B,” (Compl. ¶ 14), yet the press allegedly was not an N400B




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model.     (Compl. ¶ 33) 5   Thus, the Complaint alleges that Kiley himself

made a material misrepresentation to Inserts East, which is a

violation of the CFA.        See N.J.S.A. 56:8-2 (“The act, use or

employment by any person of any unconscionable commercial practice,

deception, fraud, false pretense, false promise, [or]

misrepresentation . . . in connection with the sale . . . of any

merchandise . . . is declared to be an unlawful practice.”).

       Kiley’s Motion to Dismiss Count 5 will be denied.



                                         2.

       As to the common law fraud claim, Kiley argues that under

Saltiel v. GSI Consultants, 170 N.J. 297 (2002), he cannot be liable

in tort under a participation theory of liability because Inserts

East cannot establish that his company, GI, owed a duty of care to

Inserts East.      See Saltiel, 170 N.J. at 303 (“A predicate to

[personal] liability is a finding that the corporation owed a duty of

care to the victim, the duty was delegated to the officer and the

officer breached the duty of care by his own conduct.”).

       Kiley’s argument misses the mark because the tortious conduct

alleged here is intentional fraud, whereas the tort alleged in

Saltiel was negligence.        See 170 N.J. at 299, 302, 306.       The concepts

of a duty of care, and breach of that duty, are negligence concepts

that typically have no place in the intentional tort analysis.               See

5
   Kiley also signed the contract which states that the press is a
N400B press. (Compl. Ex. A)

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Restatement (Second) of Torts § 4 cmt. b (“The word ‘duty’ is used

most frequently in that part of the Restatement . . . which deals

with the subject of negligence. . . . ‘Duty’ is rarely used in

dealing with the invasions of legally protected interests by acts

which are intended to invade them.”).       Stated another way, every

person has a “duty” to refrain from committing intentional torts.

Blystra v. Fiber Tech Group, Inc., 407 F. Supp. 2d 636, 647 (D.N.J.

2005).

     Saltiel, rather than supporting Kiley’s argument for dismissal,

directly undercuts it.     In Saltiel, the New Jersey Supreme Court

reaffirmed the legal “basis for holding corporate officers personally

liable” for their intentional tortious conduct, such as “fraud and

conversion”:

     ‘It is well settled by the great weight of authority in
     this country that the officers of a corporation are
     personally liable to one whose money or property has been
     misappropriated or converted by them to the uses of the
     corporation, although they derived no personal benefit
     therefrom and acted merely as agents of the corporation.
     The underlying reason for this rule is that an officer
     should not be permitted to escape the consequences of his
     individual wrongdoing by saying that he acted on behalf
     of a corporation in which he was interested.’


170 N.J. at 304 (quoting Hirsch v. Phily, 4 N.J. 408, 416 (1950)).

     As already discussed above, Inserts East asserts that Kiley,

himself, made a material misrepresentation of fact concerning the

press GI sold.   Thus, the Complaint sufficiently alleges that Kiley

participated in GI’s alleged fraud.        Saltiel, as applied to this

case, merely stands for the proposition that Kiley cannot escape
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liability by asserting that he gained no direct personal benefit from

the alleged fraud.

     Kiley’s Motion to Dismiss Count 6 will be denied.



                                       C.

     Defendants also assert that the fraud claims against it are

barred by the economic loss doctrine.

     As discussed at length in Saltiel, the economic loss doctrine

helps to maintain the “critical” “distinctions between tort and

contract actions.”    170 N.J. at 310, 314.      Essentially, the economic

loss doctrine functions to eliminate recovery on “a contract claim in

tort claim clothing.”     SRC Constr. Corp. v. Atl. City Hous. Auth.,

935 F. Supp. 2d 796, 801 (D.N.J. 2013).

     Thus, if through its tort claim, a plaintiff “‘simply seeks to

enhance the benefit of the bargain [it] contracted for,’” Id. at 798

(quoting Saltiel), the economic loss doctrine applies.           If, however,

a plaintiff asserts that a defendant breached a “duty owed to the

plaintiff that is independent of the duties that arose under the

contract,” Saltiel, 170 N.J. at 317, the economic loss doctrine does

not apply.

     The parties discuss this issue without distinguishing between

the statutory CFA claim (Count 5) and the common law fraud claim




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(Count 6). 6     The Court’s analysis, however, is different with respect

to the two claims, and therefore the claims are separately addressed.



                                          1.

        With respect to the CFA claim against GI, the Court agrees with

Judge Walls’ analysis in Florian Greenhouse v. Cardinal IG Corp.:

        The state legislature intended persons who committed
        fraudulent commercial practices in connection with the
        sale of merchandise to be liable for treble damages. To
        hold that this statutory claim is subsumed by plaintiff’s
        breach of contract cause of action would be contrary to
        legislative intent and would preclude consumer fraud
        claims in far too many circumstances.

11 F. Supp. 2d 521, 528 (D.N.J. 1998); see also Lithuanian Commerce

Corp. v. Sara Lee Hosiery, 219 F. Supp. 2d 600, 608 (D.N.J. 2002)

(“To [apply the economic loss doctrine to plaintiffs’ CFA claim]

would foreclose plaintiffs from seeking special tort remedies

specifically allowed by the New Jersey legislature.”) (following

6
   The parties also do not distinguish between the claims asserted
against Defendant GI and the claims asserted against Defendant Kiley.
However, the distinction is dispositive of the issue as to Defendant
Kiley. The undersigned has previously held that “the [economic loss]
doctrine only applies to bar certain tort claims between parties to a
contract.” SRC Constr. Corp. v. Atl. City Hous. Auth., 935 F. Supp.
2d 796, 799 (D.N.J. 2013); cf. Sullivan v. Pulte Home Corp., 232
Ariz. 344, 346 (2013) (“We decline to extend [Arizona’s economic
loss] doctrine to non-contracting parties.”); Indem. Ins. Co. v. Am.
Aviation, Inc., 891 So. 2d 532 (Fla. 2004) (answering in the negative
the certified question of “whether the economic loss doctrine of
Florida applies if there is no contractual relationship between the
plaintiffs and defendant”), abrogated on other grounds by Tiara
Condo. Ass'n v. Marsh & McLennan Cos., 110 So. 3d 399 (Fla. 2013).
There is no contract between Inserts East and Defendant Kiley,
therefore the economic loss doctrine does not apply.
     Alternatively, even if the economic doctrine does apply to the
fraud claims against Defendant Kiley, those claims survive for the
same reasons the fraud claims against GI survive.
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Florian); see generally Barton v. RCI, LLC, 2011 U.S. Dist. LEXIS

80134 at *18-19 (D.N.J. July 22, 2011) (holding that the economic

loss doctrine does not bar CFA claim); In re Wellnx Mktg. & Sales

Practices Litig., 673 F. Supp. 2d 43, 53 (D. Mass. 2009) (holding

that New Jersey’s economic loss doctrine does not bar New Jersey CFA

claim); In re Ford Motor Co. E-350 Van Prods. Liab. Litig., 2008 U.S.

Dist. LEXIS 73690 at *88-90 (D.N.J. 2008) (holding that the economic

loss doctrine does not bar CFA claim and stating, “the UCC expressly

preserves a buyer’s right to maintain an action in fraud.”); cf.

Marrone v. Greer & Polman Const., Inc., 405 N.J. Super. 288 (App.

Div. 2009) (holding that “plaintiffs’ claims based on the Products

Liability Act (PLA), N.J.S.A. 2A:58C-1 to -11, were properly

dismissed under the economic loss doctrine,” and separately holding

that “plaintiffs’ claims under the Consumer Fraud Act (CFA), N.J.S.A.

56:8-1 to -184, were properly dismissed for lack of proof that any

losses they suffered were the result of defendants’ alleged

unconscionable conduct.”); see generally Alloway v. General Marine

Industries, 149 N.J. 620, 640-41 (1997) (suggesting in dicta that

claims for violation of the CFA and the Truth-In-Consumer Contract,

Warranty and Notice Act could be pursued along with a breach of

warranty claim under the U.C.C.). 7


7
   But see, Werwinski v. Ford Motor Co., 286 F.3d 661 (2002) (holding
that Pennsylvania’s economic loss doctrine barred plaintiffs’ claim
under Pennsylvania’s Unfair Trade Practices and Consumer Protection
Law); but see, Toth v. Northwest Sav. Bank, 2013 Pa. Dist. & Cnty.
Dec. LEXIS 176 at *8-10 (Pa. County Ct. 2013) (“Werwinski never
addressed the issue of why a court-created doctrine can trump
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     Moreover, this result is consistent with the New Jersey Supreme

Court’s discussion of the economic loss doctrine in Saltiel.            The CFA

imposes on GI (and all sellers of merchandise) a duty to be fair and

honest in consumer transactions which is “independent of the duties

that arose under the contract,” 170 N.J. at 317.          Therefore, the

economic loss doctrine does not preclude Inserts East’s CFA claim.

See also Golf v. Henderson, 376 Ill. App. 3d 271 (Ill. App. Ct. 1st

Dist. 2007) (holding that Illinois’ Consumer Fraud Act imposes


legislation.”); Seward v. Certo, 2006 U.S. Dist. LEXIS 4038 at *4
(E.D. Pa. Feb. 2, 2006) (“Pennsylvania courts . . . have expressly
disagreed with Werwinski's holding and refused to apply the economic
loss doctrine to UTPCPL claims.”); Grispino v. New Eng. Mut. Life
Ins. Co. (In re New Eng. Mut. Life Ins. Co. Sales Practices Litig.),
2003 U.S. Dist. LEXIS 25664 at *30-34 (D. Mass. May 20, 2003)
(expressly declining to follow Werwinski; holding that Pennsylvania’s
economic loss doctrine did not bar plaintiffs’ claim under
Pennsylvania’s Unfair Trade Practices and Consumer Protection Law);
O'Keefe v. Mercedes-Benz United States, LLC, 214 F.R.D. 266 (E.D. Pa.
2003) (expressly declining to follow Werwinski; holding that
Pennsylvania’s economic loss doctrine did not bar plaintiffs’ claim
under Pennsylvania’s Unfair Trade Practices and Consumer Protection
Law)(Van Antwerpen, D.J.); Oppenheimer v. York Int'l Corp., 2002
Phila. Ct. Com. Pl. LEXIS 12 at *13-16 (Pa. C.P. 2002) (“This court
has . . . announced a number of decisions which, cumulatively, lead
to a holding contrary to that of the Third Circuit on the role of the
economic loss doctrine with respect to UTP/CPL claims.”).
     Cf. Ulbrich v. Groth, 310 Conn. 375, 411-12 (2013) (“we conclude
that the economic loss doctrine does not bar [Connecticut Unfair
Trade Practices Act] claims arising from a breach of contract,
including a breach of a contract for the sale of goods covered by the
UCC, when the plaintiff has alleged that the breach was accompanied
by intentional, reckless, unethical or unscrupulous conduct.”); A & R
Fugleberg Farms, Inc. v. Triangle Ag, LLC, 2010 U.S. Dist. LEXIS
34325 at *15-17 (D.N.D. 2010) (holding that North Dakota’s economic
loss doctrine did not bar North Dakota Consumer Fraud Act claim)
(citing Florian); compare TSYS Acquiring Solutions, LLC v. Elec.
Payment Sys., LLC, 2010 U.S. Dist. LEXIS 104259 at *8-9 (D. Ariz.
Sept. 29, 2010) (holding that Arizona Consumer Fraud Protection Act
claim was not barred by Arizona’s economic loss doctrine because the
claim “sound[ed] in contract,” not tort).

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“extracontractual duties” and therefore Illinois’ economic loss

doctrine did not bar the statutory claim).

        GI’s Motion to Dismiss on this ground will be denied.



                                          2.

        With respect to the common law fraud claim against GI, the

parties do not dispute that the New Jersey Supreme Court would likely

recognize a fraud in the inducement exception to the economic loss

doctrine. 8     But the parties’ briefs reveal conflicting interpretations

of the nature and scope of that exception.            Such disagreement is

understandable given the conceptual struggles reflected in New Jersey

decisions, 9 and decisions throughout the country. 10          Thankfully, in


8
   See Alloway, 149 N.J. at 639 (“In addition to the right to recover
under the U.C.C., victims of fraud or unconscionable conduct possess
substantial rights to recover for common-law fraud or for various
violations of state and federal statutes.”). The fraud in the
inducement exception is recognized in a majority of states. See
generally Anzivino, The Fraud in the Inducement Exception to the
Economic Loss Doctrine, 90 Marq. L. Rev. 921 (Summer 2007).
9
    See generally Montclair State Univ. v. Oracle USA, Inc., 2012 U.S.
Dist. LEXIS 119509, 17-18 (D.N.J. Aug. 23, 2012) (“In the past
twenty-two years, the New Jersey Supreme Court has still not
expressed its view on what precise sort of fraud claims may proceed
alongside breach of contract claims, despite the development within
the District of New Jersey courts of the ‘extraneous to the contract’
doctrine relating to fraudulent inducement claims. Nor have any
appellate court decisions spoken directly to this development. In my
view, District Courts would greatly benefit from the guidance of the
New Jersey Supreme Court in this regard and it is hoped that the New
Jersey Supreme Court will take the opportunity to clarify this area
of law when the issue is next presented to the Court.”)(discussing
Gleason v. Norwest Mortgage, Inc., 243 F.3d 130, 144 (3d Cir.
2001)(describing the fraud in the inducement exception to the
economic loss doctrine in New Jersey as “very complex and
troublesome.”)).
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this case, the Court need not parse the differing articulations of

the fraud in the inducement exception.            Even under the exception’s

most narrow articulation, Inserts East’s common law fraud claim

survives.

         Judge Orlofsky wrote in Lithuanian Commerce Corp. v. Sara Lee

Hosiery,

         District Courts in this Circuit have interpreted [the
         relevant caselaw] as requiring the conclusion that where
         the fraud alleged is contained within the four corners of
         the   contract,   that   is,   where   it  concerns   the
         nonfulfillment of a warranty or a guarantee contained in
         the contract, the plaintiff is prohibited from pursuing a
         separate tort claim; but, where the fraud is extrinsic to
         the contract, that is, where it more closely resembles a
         ‘fraud in the inducement’ claim, then the plaintiff is
         not prohibited from pursuing simultaneous tort and
         contract claims.   The Florian Court also indicated that
         it is relevant to inquire whether the parties expressly
         limited the remedies for breach in the contract. If they
         had, allowing the plaintiff to pursue a tort remedy would
         contravene the intentions of the parties.


219 F. Supp. 2d 600, 607 (D.N.J. 2002) (internal citations omitted).

         An examination of the parties’ contract reveals that no warranty

applies to Inserts East’s claim that it was sold the wrong model




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   See generally Anzivino, The Fraud in the Inducement Exception to
the Economic Loss Doctrine, 90 Marq. L. Rev. 921, 931-43 (Summer
2007); Dobbs, SYMPOSIUM: DAN B. DOBBS CONFERENCE ON ECONOMIC TORT
LAW: An Introduction to Non-Statutory Economic Loss Claims, 48 Ariz.
L. Rev. 713, 728-33 (Winter, 2006); Tourek, Boyd, and Schoenwetter,
Bucking the "Trend": The Uniform Commercial Code, the Economic Loss
Doctrine, and Common Law Causes of Action for Fraud and
Misrepresentation, 84 Iowa L. Rev. 875 (August, 1999).
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press 11, and that the parties did not limit their remedies for the

type of claim asserted here-- an intentional tort.

         The warranties are found in two places: in the “Warranty”

section of the Harris N400B Proposal (attached to the contract and

expressly incorporated therein); and Paragraph (g) of the contract

itself.      These clauses state, in relevant part,

         Graphic Innovators warranties remanufactured equipment
         for 12 months and workmanship 12 months from the startup
         of the press.    The manufacturer’s warranty for all new
         equipment will pass through to the buyer.      Buyer must
         keep a detailed log documenting the press has been
         lubricated    according   to    original   manufacturer’s
         specifications. Failure to do so can void the warranty.
         Additionally, ‘consumable parts’ such as but not limited
         to, rubber rollers, timing belts, folder belting and
         knives, dryer flame rods, filters, rotary unions, glue
         pumps, brake pads, ink actuators, [and] felt seals are
         not part of the warranty items.          Used electronic
         components not replaced are covered for 30 days beyond
         the date of the first live.

         . . . .

         THERE ARE    NO   WARRANTIES  WHICH  EXTEND   BEYOND   THE
         WARRANTIES EXPRESSLY DESCRIBED IN SELLER’S PURCHASE ORDER
         OR WRITTEN QUOTATION OR THIS SECTION (G).           Seller
         warrants that the Equipment will be free from defects in
         material or workmanship for a period of 12 months from
         Completion.   If the Equipment fails to perform due to a
         defect in materials or workmanship during this period,
         Seller will repair or, at Seller’s option, replace the
         Equipment, or defective portion thereof, with the same or

11
   Inserts East’s breach of warranty claim is based on different
alleged facts, namely, GI’s alleged failure to deliver a press that
was: (1) free from defects, and (2) “assembled with the quality and
type of components specified” in the contract. (Compl. ¶¶ 42, 44,
45) Admittedly, the Complaint does plead that “[u]nder the Harris
N400B [contract], GI expressly warranted that the Press would be a
Harris N400B.” (Compl. ¶ 43) However, this allegation is directly
contradicted by the contract itself, which is attached as Exhibit A
to the Complaint. Therefore, the Court is not required to presume
the allegation is true.
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     comparable item at no charge to Buyer for parts or labor.
     Seller further warrants good title to the Equipment and
     that same be transferred to Buyer free and clear of any
     interest or claim of any third party.

          THE FOREGOING WARRANTY IS IN LIEU OF ALL OTHER
     WARRANTIES, EXPRESS OR IMPLIED, INCLUDING BUT NOT LIMITED
     TO THE IMPLIED WARRANTIES OF MERCHANTABILITY AND FITNESS
     FOR A PARTICULAR PURPOSE.

          Buyer’s exclusive remedy for breach of any warranty
     shall be repair or replacement, at Seller’s option . . .

          Under no circumstances shall Seller be liable to
     Buyer or any other person for any labor charges, special
     collateral, incidental or consequential damages whether
     based on breach of warranty or contract or negligence. .
     . .

(Compl. Ex. A) (caps and bold in original).

     The above-quoted warranties demonstrate that: (1) while some

warranties were provided-- for example, that the press will be free

from defects for a certain period of time-- a warranty that the press

was an N400B model was not among them; and (2) all other warranties,

express and implied, were clearly, broadly, and unequivocally

disclaimed.   Thus, no warranty claim duplicates, or overlaps with,

Inserts East’s common law fraud claim; or, in the words of Lithuanian

Commerce, the fraud alleged is not “contained within the four corners

of the contract.”    219 F. Supp. 2d at 607.

     Similarly, while the contract limits damages recoverable for

particular claims-- “breach of warranty, or contract or negligence”

claims-- intentional torts are not included in the list, thus

supporting a conclusion that allowing Inserts East to pursue its




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common law fraud claim will not “contravene the intentions of the

parties.”   Lithuanian Commerce, 219 F. Supp. 2d at 607.

     Alternatively, Judge Cooper in Bracco Diagnostics, Inc. v.

Bergen Brunswig Drug Co., articulated an arguably broader fraud in

the inducement exception:

     The distinction between fraud in the inducement and fraud
     in the performance of a contract remains relevant to the
     application of the economic loss doctrine in New Jersey.
     Courts   have   continued   to   affirm   the    conceptual
     distinction between a misrepresentation of a statement of
     intent at the time of contracting, which then induces
     detrimental reliance on the part of the promisee, and the
     subsequent failure of the promisor to do what he has
     promised.     No   decision  has   formally   negated   the
     distinction between fraudulent inducement extraneous to
     the contract and fraud in its subsequent performance.

     New Jersey federal and state decisions that have
     permitted a fraud claim to proceed with a breach of
     contract claim generally appear to have involved a fraud
     in the inducement of a contract or an analogous situation
     based on pre-contractual misrepresentations.

     Further, in our most recent statement recognizing the
     fraud-in-the-inducement   and   fraud-in-the-performance
     distinction, this District Court stated again that the
     critical issue with regard to economic loss is whether
     the allegedly tortious conduct is extraneous to the
     contract.


226 F. Supp. 2d 557, 563-64 (D.N.J. 2002) (internal citations and

quotations omitted).

     Under this standard, too, Inserts East’s common law fraud claim

survives.   Inserts East alleges “pre-contractual misrepresentations.”

Bracco, 226 F. Supp. 2d at 564.       The Complaint specifically alleges,

“[d]uring its negotiations with GI, Inserts East asked GI and Kiley

to confirm that the model GI was offering to sell was indeed, a N400B
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press.   Kiley confirmed and represented unequivocally that the GI

Press was a N400B.”    (Compl. ¶ 14) (emphasis added)        Moreover, the

alleged facts support an inference that Inserts East would not have

contracted to purchase an N400 press given its knowledge of the

historical problems with that model (Compl. ¶ 13), thereby supporting

a conclusion that the alleged misrepresentation induced Inserts East

to enter into the contract with GI.          Such representations are

necessarily “extraneous to the contract,” id. at 564, because they

took place prior to the execution of the contract, and, as explained

supra, no warranty in the contract guarantees that the press being

sold is an N400B model.

     Accordingly, the Court holds that the fraud in the inducement

exception to the economic loss doctrine applies to Inserts East’s

common law fraud claim.     GI’s Motion to Dismiss on this ground will

be denied.



                                       D.

     Defendants also argue that the CFA and common law fraud claims

are not adequately pled under the standards set forth in Fed. R. Civ.

P. 8 and 9(b), Twombly, and Iqbal.          Defendants argue that the

Complaint fails to identify who made what fraudulent

misrepresentations, and that Inserts East “has not alleged any intent

on the part of GI and Kiley in connection with” the alleged

fraudulent conduct.    (Moving Brief, p. 25)        The Court disagrees.



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     At the risk of excessive repetition, the Complaint asserts that

Defendant Kiley, acting on behalf of Defendant GI, specifically

represented that GI was selling Inserts East an N400B press, when the

press was not an N400B.     This specific allegation, and the other

surrounding factual allegations that place it in context, are

sufficiently particularized to pass muster under federal pleading

standards.

     Further, the alleged fact that “many of the component parts [of

the press] had their serial numbers removed prior to the delivery of

the GI Press to Inserts East” (Compl. ¶ 34) supports a plausible

inference of fraudulent intent.       Compare Fed. R. Civ. P. 9(b)

(“Malice, intent, knowledge and other conditions of a person’s mind

may be alleged generally.”).

     The Court holds that the CFA and common law fraud claims are

adequately pled.    Defendants’ Motion to Dismiss on this ground will

be denied.



                                       E.

     Lastly, Defendants argue that Inserts East has not stated a

claim for declaring the damages limitation clause unenforceable.

     The parties agree on the applicable legal standard:

     New Jersey Law does not require the invalidation of an
     exclusion   of   consequential   damages   when   limited
     contractual remedies fail of their essential purpose. It
     is only when the circumstances of the transaction,
     including the seller’s breach, cause the consequential
     damage exclusion to be inconsistent with the intent and
     reasonable commercial expectations of the parties that
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     invalidation   of   the      exclusionary      clause    would   be
     appropriate . . . .


Carter v. Exxon Co. USA, 177 F.3d 197, 208 (3d Cir. 1999) (internal

citations and quotations omitted).          “In determining whether a

contract is unconscionable, courts focus on the bargaining power of

the parties, the conspicuousness of the putative unfair term, and the

oppressiveness and unreasonableness of the term.”            Id. at 207.

     The unconscionability inquiry is fact-intensive and therefore

more appropriately explored at summary judgment, as Inserts East

suggests.   At the pleadings stage, Inserts East’s plausible

allegations of fraud in the inducement of the contract are sufficient

to open the door to discovery.      Defendants’ alleged deception, if

proven, would fundamentally alter the balance of bargaining power

between the parties and would weigh in favor of unenforceability.

     Defendants’ Motion to Dismiss Count 7 will be denied.



                                      IV.

     In light of the foregoing, Defendants’ Motion to Dismiss will be

denied.   An appropriate Order accompanies this Opinion.




Date:   May 8, 2014                         s/ Joseph E. Irenas
                                        JOSEPH E. IRENAS, S.U.S.D.J.




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